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16
                                   UNITED STATES DISTRICT COURT
17
                                       DISTRICT OF ARIZONA
18   Victor Parsons; Shawn Jensen; Stephen Swartz;         No. CV 12-00601-PHX-DJH
19   Dustin Brislan; Sonia Rodriguez; Christina
     Verduzco; Jackie Thomas; Jeremy Smith; Robert
20   Gamez; Maryanne Chisholm; Desiree Licci; Joseph         JOINT MOTION TO REFER
     Hefner; Joshua Polson; and Charlotte Wells, on          REMAINDER OF CASE TO
21   behalf of themselves and all others similarly           MAGISTRATE JUDGE
     situated; and Arizona Center for Disability Law,        DUNCAN AND TO REFER
22                        Plaintiffs,                        CASE TO MAGISTRATE
                                                             JUDGE BUTTRICK FOR
23          v.                                               MEDIATION
     Charles Ryan, Director, Arizona Department of
24   Corrections; and Richard Pratt, Interim Division
     Director, Division of Health Services, Arizona
25   Department of Corrections, in their official
     capacities,
26                        Defendants.
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 2           Pursuant to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the parties hereby consent to

 3   have Magistrate Judge David Duncan conduct all further proceedings in this case,

 4   including proceedings to determine the fairness of the settlement pursuant to Fed. R. Civ.

 5   P. 23(e), and any other proceedings contemplated by the settlement in this case. The

 6   parties request that the Court refer this matter to Magistrate Judge Duncan because his

 7   constructive participation in the settlement negotiations has provided him with a unique

 8   ability to effectuate the parties’ intent in any future proceedings.

 9           The Stipulation filed herewith contemplates that any future disputes about

10   compliance issues be subject to mediation before a Magistrate Judge before enforcement

11   proceedings are initiated. The parties hereby request that the Court refer the case to

12   Magistrate Judge John Buttrick for such mediation.

13   October 14, 2014

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                                                    Polson, and Charlotte Wells, on behalf of
27                                                  themselves and all others similarly situated
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                                    on behalf of themselves and all others
10                                  similarly situated

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 2                                   CERTIFICATE OF SERVICE

 3           I hereby certify that on October 14, 2014, I electronically transmitted the above

 4   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 5   Notice of Electronic Filing to the following CM/ECF registrants:

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